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            EXHIBIT 3
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                                   DELETION CODES


G.    THE LAW ENFORCEMENT PRIVILEGE - THE DISCLOSURE OF THIS INFORMATION
      COULD CAUSE HARM TO, IMPEDE, IMPAIR, OR HINDER AN INVESTIGATION AND/OR
      AN INVESTIGATIVE INTEREST OF THE FBI.

P.    THE PRIVACY ACT OF 1974, 5 U.S.C. § 552a

P-1   INFORMATION, THE DISCLOSURE OF WHICH WOULD BE AN UNWARRANTED
      INVASION OF PERSONAL PRIVACY.

S.    PERSONAL IDENTIFYING INFORMATION RELATED TO LAW ENFORCEMENT
      PERSONNEL AND THEIR FAMILY MEMBERS, THE DISCLOSURE OF WHICH IS
      ROUTINELY GUARDED FOR SECURITY REASONS.
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